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                  UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION

COMPUTER & COMMUNICATIONS
INDUSTRY ASSOCIATION and
NETCHOICE,

              Plaintiffs,                   Case No. 4:24-cv-00438-MW-MAF
              v.

ASHLEY BROOKE MOODY, in her
official capacity as Attorney General of
the State of Florida,

              Defendant.



        PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

                               (Oral Argument Requested)

      Pursuant to Federal Rule of Civil Procedure 65(b), Plaintiffs Computer &

Communications Industry Association (“CCIA”) and NetChoice (“NetChoice”),

respectfully move the Court for a preliminary injunction enjoining Defendant Ashley

Brooke Moody, in her capacity as Attorney General of the State of Florida, and her

employees, her agents, and successors in office from implementing or enforcing

certain provisions of Section 1 of Florida House Bill 3 (“HB3” or the “Act”), against
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CCIA’s and NetChoice’s members.1 The Act is scheduled to go into effect on

January 1, 2025. Because the Act will have a substantial impact upon the First

Amendment rights of members of CCIA and NetChoice, and upon the rights of users

of those members’ services, Plaintiffs request that the Court rule upon this motion

prior to the January 1, 2025, effective date.

           WHEREFORE, Plaintiffs CCIA and NetChoice respectfully request that this

Court:

    (i)       By January 1, 2025, preliminarily enjoin Defendant Moody, her

              employees, her agents, and successors in office from implementing or

              enforcing the provisions of HB3 §1 that will be codified as Fla. Stat.

              §§501.1736(2)(a), (2)(b)(1), (3)(a), (3)(b)(1), (4)(a), and (4)(b)(1), against

              CCIA’s and NetChoice’s members; and

    (ii)      Grant any other relief that the Court determines is just and proper.

                          REQUEST FOR ORAL ARGUMENT

           Pursuant to Local Rule 7.1(K), Plaintiffs respectfully request oral argument

on this Motion, and estimate that one (1) hour would be required for the hearing.




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   Specifically, Plaintiffs ask the Court to enjoin Defendant from enforcing the
provisions of HB3 that will be codified as Fla. Stat. §§501.1736(2)(a), (2)(b)(1),
(3)(a), (3)(b)(1), (4)(a), and (4)(b)(1).
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                                         Respectfully submitted,

                                         /s/ Douglas L. Kilby
  Paul D. Clement                        Douglas L. Kilby
  Erin E. Murphy                         Florida Bar No. 73407
  James Y. Xi (PHV application           Hannah E. Murphy
  forthcoming)                           Florida Bar No. 1032759
  Joseph J. DeMott (PHV application      Abby Corbett
  forthcoming)                           Florida Bar No. 31332
  Mitchell K. Pallaki (PHV application   STEARNS WEAVER MILLER
  forthcoming)                           WEISSLER ALHADEFF &
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              Counsel for Plaintiffs Computer & Communications
                     Industry Association and NetChoice
October 29, 2024
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                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 29th day of October, 2024, I electronically

filed the foregoing with the Clerk of the Court by using the CM/ECF system, which

will send electronic filing to all counsel of record. In addition, because counsel for

Defendant has not yet appeared in this case, I caused a copy of this filing to be served

by hand delivery on Defendant.

      ASHLEY BROOKE MOODY, in her official
      capacity as Attorney General of the State of Florida
      Office of the Attorney General
      State of Florida
      PL-01 The Capitol
      400 S. Monroe Street
      Tallahassee, FL 32399-1050

                                                      /s/ Douglas L. Kilby
                                                      Douglas L. Kilby


                       CERTIFICATE OF WORD COUNT

      Pursuant to Northern District of Florida Rule 7.1(F), I HEREBY CERTIFY

that the foregoing Motion, including body, headings, quotations, and footnotes, and

excluding those portions exempt by Local Rule 7.1(F), contains 266 words as

measured by Microsoft Office for Word.

                        CERTIFICATE OF CONFERRAL

      Pursuant to Northern District of Florida Rule 7.1(C), I HEREBY CERTIFY

that undersigned counsel has conferred with counsel for Defendant Ashley Brooke
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Moody, in her official capacity as Attorney General of the State of Florida, in a good

faith effort to resolve the issue set forth herein. Defendant does not consent to the

relief requested herein.

                                                    s/ Douglas L. Kilby
                                                    Douglas L. Kilby
